                          IN THE UNITED STATES DISTRICT COURT                      Motion GRANTED.
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA

VS.                                                   NO. 2:13-cr-00002-02
                                                      JUDGE TRAUGER
CHRISTOPHER SADLER

                                 MOTION TO CONTINUE TRIAL

       Comes appointed counsel, Thomas J. Drake, Jr., Attorney at Law, to move this Honorable

Court to continue trial of this case, set for December 17, 2103. For grounds, counsel would show

the following:

       1.        The Court set this case for trial on December 17, 2013, by order entered on

            October 18, 20134.(DE 23)

       2.        Undersigned counsel and AUSA Matthias Onderak have discussed settlement in

            this case but have not completed discussion, which include discussion of possible

            presentment or superceding indictment.

       3.        Counsel for defendant Michael Jenkins, C. Douglas Thoresen, has no objection to

            continuing trial of this matter.



Respectfully submitted,

/s/ Thomas J. Drake, Jr.
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